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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION

RESONANT SYSTEMS, INC., d/b/a          §
RevelHMI,                              §
                                       §
                  Plaintiff,           §    Civil Action No. 2:22-cv-00424-JRG
                                       §                LEAD CASE
     v.                                §
                                       §       JURY TRIAL DEMANDED
SONY GROUP CORP. and SONY              §
INTERACTIVE ENTERTAINMENT INC.,        §
                                       §
                  Defendants.          §

            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
           OF NON-INFRINGEMENT OF THE ASSERTED PATENTS
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I.     INTRODUCTION

       Resonant cannot present its case at trial without violating both the rationale and the express

words of the Court’s Claim Construction Order. As the Court found, the Asserted Claims all

require the structure of the “control component” to be “contained within the vibrating module.”

Resonant identifies the DualSense, DualSense Edge, and PSVR2 Sense controllers (“the Accused

Controllers”) as the allegedly infringing “vibration modules.” However, Resonant must rely on

features of the PlayStation 5 console, which is undisputedly not “contained within the vibrating

module,” to meet the structure and function of the “control component” limitations. Relying on a

“control component” that is not “within the vibration module” is directly contrary to the Court’s

claim construction, and the disclaimer that formed the basis for that construction. Summary

judgment is warranted under these facts.

II.    SUMMARY JUDGMENT STANDARDS

       Summary judgment should be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Celotex v. Catrett, 477 U.S. 317, 322 (1986). “By its very terms, this standard provides that

the mere existence of some alleged factual dispute between the parties will not defeat an otherwise

properly supported motion for summary judgment; the requirement is that there be no genuine

[dispute] of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247– 48 (1986). The

substantive law identifies the material facts, and disputes over facts that are irrelevant or

unnecessary will not defeat a motion for summary judgment. Id. at 248. A dispute about a material

fact is “genuine” when the evidence is “such that a reasonable jury could return a verdict for the

nonmoving party.” Id.

       The moving party must identify the basis for granting summary judgment and evidence

demonstrating the absence of a genuine dispute of material fact. Celotex, 477 U.S. at 323. Where,

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as here, the moving party does not have the ultimate burden of persuasion at trial, the party “must

either produce evidence negating an essential element of the nonmoving party’s claim or defense

or show that the nonmoving party does not have enough evidence of an essential element to carry

its ultimate burden of persuasion at trial.” Yufa v. TSI, Inc., 652 Fed. Appx. 939, 944 (Fed. Cir.

2016) (quoting Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th

Cir. 2000)). A party opposing a motion for summary judgment on a claim for which it carries the

burden of proof must present evidence sufficient to prove each element of that claim to avoid

summary judgment. Celotex, 477 U.S. at 322-23.

III.   STATEMENT OF THE ISSUES

       1.      Whether the DualSense, DualSense Edge, and PSVR2 Sense controllers (“the

Accused Controllers”) do not infringe where the Court’s claim construction requires a “control

component” that is “contained within the vibrating module” and it is undisputed that the Accused

Controllers are not programmed to perform the required algorithm cannot perform the claimed

function without receiving instructions from a separate unit, namely the PlayStation 5 console.

IV.    SUMMARY OF THE ALLEGED INVENTION

       The Asserted Patents are titled “Linear Vibration Modules and Linear-Resonant Vibration

Modules.” The ’081 and ’830 Patents are continuations of the ’337 Patent, sharing the same

specification.1 The Asserted Patents are “directed to various linear vibration modules (‘LRMs’),

including various types of linear-resonant vibration modules (‘LRVMs’), that can be used within

a wide variety of different types of appliances, devices, and systems, to generate vibrational

forces.” ’337 Patent at 4:13-17. “Fig. 6 provides a block diagram of the LRVM,” and includes,




1 Because the Asserted Patents share a common specification, all citations are to the ’337 Patent
unless noted otherwise.
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among other things, a CPU (red), user controls (purple), a power supply (yellow), an H-bridge

switch (blue), and a coil (green):




Id. at Fig. 6 (emphasis added).

       In operation, the user controls “generate signals input to the CPU 608-610.” Id. at 6:24-25.

“The power supply 612 receives a control input 624 from the CPU to control the current supplied

to the H-bridge switch 618 for transfer to the coil 626.” Id. at 6:33-35. The CPU [of the vibration

module] executes a control program “that controls operation of [the vibration module .]” Id. at

6:43-47 (emphasis added). The control program sets local variables to default values, including

“(1) mode, which indicates the current operational mode of the device; (2) strength, a numerical

value corresponding to the current user-selected strength of operation, corresponding to the

electrical current applied to the coil[.]” Id. at 6:50-55. When the control program determines that

“a change in the user controls has occurred,” it sets the variables mode and strength “to the

currently selected mode and vibrational strength, represented by the current states of control

features in the user interface,” and “computes an output value p corresponding to the currently



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selected strength, stored in the variable strength, and outputs the value p to the power supply so

that the power supply outputs an appropriate current to the coil.” Id. at 8:11-20.

V.     STATEMENT OF UNDISPUTED FACTS (“SOF”)

       1.      Resonant accuses the DualSense, DualSense Edge, and PSVR2 Sense controllers

(“Accused Controllers”) of infringing the following claims: claim 2 of U.S. Patent No. 8,860,337

(the “’337 Patent”), claims 1, 2, 7, 8, and 17 of U.S. Patent No. 9,369,081 (the “’081 Patent”), and

claims 1, 2, 7, 8, 15, 17, and 20 of U.S. Patent No. 9,941,830 (the “’830 Patent”) (collectively, the

“Asserted Patents” and the “Asserted Claims”). Ex. 1 (Baker Opening Rpt.) at ¶ 77, ¶142, ¶ 186,

¶ 232; Ex. 2 (Baker Dep. Tr.) at 32:11-15.

Claim Construction and Disclaimer

       2.      The Court entered the following claim construction in this case for the “control

component” limitations of the Asserted Patents:

         In sum, for each of the claims at issue, the Court holds the “control component”
         limitation is subject to 35 U.S. C. § 112 ¶ 6, and that the agreed recited function
         is “controlling supply of power from the power supply to the driving component
         to cause the moveable component to oscillate at a frequency and an amplitude
         specified by [user input received from the user-input features / one or more
         stored values],” as agreed to by the parties. Furthermore, the Court adopts
         Sony’s proposed corresponding structure, which accounts for the disclaimer:
         an oscillator circuit, a microcontroller with internal or external memory, a
         processor, a CPU, or a microprocessor contained within the vibrating module
         where the microcontroller, processor, CPU, or microprocessor are programmed
         with an algorithm comprising the following steps: (a) set the mode and strength
         to [default values or] values representing selections made by user input to the
         user input features; and (b) provide a corresponding output to the power supply
         so that the power supply provides a corresponding output to the driving
         component and equivalents thereof.
Dkt. 107 (Claim Construction Order dated August 27, 2024) at 15-16 (emphasis added).

       3.      As noted in the Court’s Claim Construction Order, during the prosecution of the

’830 Patent, applicants argued the following:



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         However, the controller of Houston resides in a computer, and is separate from
         the vibrating device; see, e.g., Fig. 38 and the text associated with Fig. 38. Thus,
         the stored values of Houston are not in the same module as the vibrating device.
         In other words, the sensations felt by a user 626 are sent by a system controller
         622 to a haptic interface 624.
         These are separate units and not contained in a vibration module and thus is in
         contrast to the language of Applicants’ claim 1, which recites that the “vibration
         module [comprises] … [the] control component … to cause the moveable
         component to oscillate at a frequency and amplitude specified by one or more
         stored values.”
Ex. 3 (Response dated October 23, 2017) at 3-4; see also Dkt. 107 at 12.

Operation of the Accused Controllers

       4.      The Accused Controllers require s

                                                      Ex. 1 (Baker Opening Rpt.) at ¶¶ 114-117; Ex.

4 (Welch Rebuttal Rpt.) at ¶¶ 47-59, ¶ 65, ¶¶ 72-79; Ex. 5 (Igarashi Dep. Tr.) at 39:5-9, 59:22-

60:1; Ex. 6 (Imada 6/20/2024 Dep. Tr.) at 19:3-10, 51:18-24, 66:25-67:15.

       5.      The Accused Controllers

                                                                . Ex. 2 (Baker Dep. Tr.) at 152:15-

153:4,157:16-158:4; Ex. 5 (Igarashi Dep. Tr.) at 39:5-9, 59:22-60:1; Ex. 6 (Imada 6/20/2024 Dep.

Tr.) at 19:3-10, 66:25-67:15; Ex. 4 (Welch Rebuttal Rpt.) at ¶¶ 87-88.

       6.      The PlayStation 5 console is a separate electrical unit from the Accused Controllers.

Ex. 2 (Baker Dep. Tr.) at 142:12-16.

       7.      The Accused Controllers are used to play games running on the PlayStation 5

console. Ex. 1 (Baker Opening Rpt.) at ¶ 130; Ex. 4 (Welch Rebuttal Rpt.) at ¶ 87.

       8.      The Accused Controllers include several user input devices, such as buttons,

triggers, analog sticks, and/or touchpads. Ex. 1 (Baker Opening Rpt.) at ¶ 97; Ex. 4 (Welch Rebuttal

Rpt.) at ¶ 28, ¶ 60, ¶¶ 66-68.




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       9.       The Accused Controllers send the user’s inputs (e.g., button presses) to the

PlayStation 5 console either via Bluetooth or USB. Ex. 2 (Baker Dep. Tr.) at 151:2-22, 168:5-9.

       10.



            . 1 (Baker Opening Rpt.) at ¶ 114, ¶ 116, ¶164, ¶ 206, ¶ 253; Ex. 2 (Baker Dep. Tr.) at

165:13-166:5; 168:5-169:12, 180:14-181:2; Ex. 4 (Welch Rebuttal Rpt.) at ¶¶ 47-55, ¶ 65, ¶¶ 72-

75, ¶¶ 124-125.

       11.

                                                      . Ex. 2 (Baker Dep. Tr.) at 182:10-15; Ex. 4

(Welch Rebuttal Rpt.) at ¶¶ 124-125.

       12.

                    . Ex. 1 (Baker Opening Rpt.) at ¶ 117; Ex. 2 (Baker Dep. Tr.) at 168:14-169:5,

174:3-6; Ex. 4 (Welch Rebuttal Rpt.) at ¶¶ 53-54, ¶ 65, ¶¶ 74-75; Ex. 6 (Imada 6/20/2024 Dep. Tr.)

at 46:17-47:14, 51:18-24.

       13.      The Accused Controllers

                                               Ex. 1 (Baker Opening Rpt.) at ¶¶ 117, 119, 122; Ex.

2 (Baker Dep. Tr.) at 164:14-22, 174:7-15; Ex. 4 (Welch Rebuttal Rpt.) at ¶¶ 56-59, ¶ 65, ¶¶ 76-

79, ¶¶ 124-125.

       14.      The Accused Controllers



             Ex. 1 (Baker Opening Rpt.) at ¶¶ 117-119, 122, Ex. 2 (Baker Dep. Tr.) at 164:14-22,

169:6-12; Ex. 5 (Igarashi Dep. Tr.) at 39:5-9, 59:22-60:1; Ex. 6 (Imada 6/20/2024 Dep. Tr.) at 19:3-

10, 51:18-52:4, 66:25-67:15.



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PlayStation 5 Console’s Vibration Intensity Settings

       15.     A user must set the vibration settings for the DualSense controller on the

PlayStation 5 console using the “Vibration Intensity” menu shown below:




Ex. 1, Baker Opening Rpt. at ¶ 108, ¶164, ¶ 206, ¶ 253; Ex. 2 (Baker Dep. Tr.) at 142:17-143:17;

Ex. 4 (Welch Rebuttal Rpt.) at ¶ 141; Ex. 6 (Imada 6/20/2024 Dep. Tr.) at 29:15-20. A user cannot

adjust the vibration intensity without connecting to the PlayStation 5 console. Ex. 2 (Baker Dep.

Tr.) at 146:6-11.

       16.     The user must similarly set the vibration settings for the DualSense Edge and

PSVR2 Sense controllers using menus on the PlayStation 5 console. Ex. 1, Baker Opening Rpt. at

¶ 109, ¶164, ¶ 206, ¶ 253; Ex. 2 (Baker Dep. Tr.) at 148:3-14; 150:4-151:1.

       17.     Once a user selects a vibration intensity setting in the PlayStation 5 console’s menu,

                                                                                       Ex. 4 (Welch

Rebuttal Rpt.) at ¶¶ 142-144; Ex. 6 (Imada 6/20/2024 Dep. Tr.) at 56:20-58:4.

       18.




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                                                          Ex. 4 (Welch Rebuttal Rpt.) at ¶¶ 142-

144; Ex. 5 (Igarashi Dep. Tr.) at 32:24-33:8, Ex. 6 (Imada 6/20/2024 Dep. Tr.) at 56:20-58:4.

Resonant’s Infringement Theory

       19.     Resonant identifies the MediaTek MT3616T/B or MediaTek MT3606T/B

(“MCU”) contained within the DualSense, DualSense Edge, and PSVR2 Sense controllers as the

microcontroller that satisfies the “control component” limitation required by the Asserted Claims.

Ex. 1 (Baker Opening Rpt.) at ¶ 107, ¶164, ¶ 206, ¶ 253; Ex. 2 (Baker Dep. Tr.) at 139:12-140:2.

       20.     Resonant identifies the settings on the PlayStation 5 console’s vibration intensity

menu (e.g., Off, Weak, Medium, Strong) as the “mode” in step (a) of the “control component”

algorithm and the corresponding value used to drive the haptic motors as the “strength” in step (a)

of the control component algorithm. Ex. 2 (Baker Dep. Tr.) at 206:12-22.

       21.     Resonant identifies

                                                                                    . Ex. 1 (Baker

Opening Rpt.) at ¶ 114, ¶164, ¶ 206, ¶ 253; Ex. 2 (Baker Dep. Tr.) at 154:9-16, 155:12-20.

       22.     Resonant cites

                                 Ex. 1 (Baker Opening Rpt.) at ¶ 116, ¶164, ¶ 206, ¶ 253; Ex. 2

(Baker Dep. Tr.) at 189:7-190:3, 195:19-196:12




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Houston

       23.     Figure 38 of U.S. 2011/0248817 to Houston (“Houston”), reproduced below,

depicts a system 620, including a haptic interface 624, that has “an input device 636, which can

detect user input and which can include buttons, joysticks, and pressure sensors.” Ex. 7 (Houston)

at [0218], Fig. 38.

       24.     Houston’s system 620 also includes a system controller 622 that “provides force

commands to a haptic interface 624 that generates forces which result in force sensations being

received by user 626.” Ex. 7 (Houston) at [0217].

       25.     Houston’s haptic interface 624 sends user commands to system controller 622, and

“[t]he user commands can be input through pressing buttons, moving joysticks, squeezing the

haptic interface at various level forces, moving the haptic interface, applying force and torque onto

the haptic interface and through other means.” Ex. 7 (Houston) at [0214], Fig. 38.

VI.    ARGUMENT

       It is undisputed that the Accused Controllers (SOF 1)



             SOF 4, 13-14. As the Court explained at claim construction and further set forth

below, the Asserted Claims all require the “control component” structure to be “contained within

the vibrating module.” Like the Houston reference distinguished during prosecution and on which

the Court based its claim construction, the alleged “control component” of the Accused Controllers

resides in the PlayStation 5 console and is separate from the vibrating module because the



             There is no dispute as to how the Accused Controllers operate in this regard. This

operation is contrary to the Court’s claim construction and underlying rationale. Because no

reasonable juror could find that the PlayStation 5 is “contained within the vibrating module,” no
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reasonable jury could find infringement, and Defendants are entitled to summary judgment.

       A.      The Court’s Claim Construction Requires that the “Control Component”
               Must Be “Contained Within the Vibrating Module”

       Every Asserted Claim requires “a control component.” Independent claim 2 of the ’337

Patent and independent claim 1 of the ’081 Patent recite:

         A linear vibration module comprising …
         a control component that controls supply of power from the power supply to the
         driving component to cause the moveable component to oscillate at a frequency
         and an amplitude specified by user input received from the user-input features[.]
       Independent claims 1 and 20 of the ’830 similarly recite:

         A vibration module comprising …
         a control component that controls supply of power from the power supply to the
         driving component to cause the moveable component to oscillate at a frequency
         and an amplitude specified by one or more stored values[.]
       The Court construed these limitations under 35 U.S.C. § 112, ¶ 6 as requiring the structure

of “an oscillator circuit, a microcontroller with internal or external memory, a processor, a CPU,

or a microprocessor contained within the vibrating module where the microcontroller,

processor, CPU, or microprocessor are programmed with an algorithm comprising the following

steps: (a) set the mode and strength to [default values or] values representing selections made by

user input to the user input features; and (b) provide a corresponding output to the power supply

so that the power supply provides a corresponding output to the driving component and equivalents

thereof.” SOF 2 (emphasis added).

       The basis for the Court’s construction was a disclaimer made during the prosecution of the

’830 Patent. Dkt. 107 at 11-13. There, the applicant distinguished over Houston by arguing that

“the controller of Houston resides in a computer, and is separate from the vibrating device,” which

means that the “control component” limitation is not met because “the sensations felt by a user

626 are sent by a system controller 622 to a haptic interface 624.” SOF 3. This can be seen below,

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where the sensations felt by the user are sent by the system controller to the haptic interface as

“force commands,” and the haptic interface outputs those sensations to the user.




Id. at Fig. 38.

        The Court found that “the applicant [of the ’830 Patent] clearly and unmistakably

characterized the ‘system controller’ and ‘haptic interface’ of Houston as ‘separate units and not

contained in a vibration module.’” Claim Construction Order (Dkt. 107) at 12-13 (citing ’830

Patent File Wrapper, Dkt. No. 65-6 at 25–26). The Court further explained that “[a] skilled artisan

would understand from those arguments that the claimed vibration module requires a control

component that is not separate and is contained within the module, and that understanding is

consistent with the specification’s description of the control component’s location.” Id. at 13

(emphasis added). Regarding the claims of the ’337 and ’081 Patents, the Court stated that “the

Court is hard-pressed to see how the applicants’ characterization of ‘module comprising’ vis-à-vis

Houston would not apply to the other claims. That is, a skilled artisan would consider the

applicants’ arguments as characterizing the invention as a whole, and would not read the various


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       Resonant’s infringement theories further reinforce the foregoing because Resonant must

rely on functions undisputedly performed by the PlayStation 5 console to show that the “control

component” limitation is met.

       Resonant identifies the MediaTek MT3616T/B or MediaTek MT3606T/B (“MCU”)

contained within the DualSense, DualSense Edge, and PSVR2 Sense controllers as the

microcontroller that satisfies the structure of the “control component” limitation required by the

Asserted Claims. SOF 19. The Court’s construction requires the MCU that is “contained within

the vibrating module” (i.e., the Accused Controllers) to be programmed to perform two steps: “(a)

set the mode and strength to [default values or] values representing selections made by user input

to the user input features; and (b) provide a corresponding output to the power supply so that the

power supply provides a corresponding output to the driving component and equivalents thereof,”

and perform the function of “controlling supply of power from the power supply to the driving

component to cause the moveable component to oscillate at a frequency and an amplitude specified

by [user input received from the user-input features / one or more stored values].” SOF 2. The

MCU of the Accused Controllers, therefore, must be programmed to perform each of these steps.

       Resonant identifies two features as allegedly meeting the function and structure required

by the construction of “control component.” Each of these functions




       First, Resonant’s expert, Dr. Baker, identifies the settings on the PlayStation 5 console’s

vibration intensity menu (e.g., Off, Weak, Medium, Strong) as meeting the “set[ting] the mode”

(i.e., step (a)) requirement of the required algorithm. SOF 20. The vibration intensity menu, shown

below, is undisputedly a feature of the PlayStation 5 console:



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SOF 15-16. Once a user selects a setting,

                                                                                 . SOF 17-18.




       Because




SOF 17-18.

       Second, Resonant identifies

as including the frequency and amplitude at which the moveable component oscillates. SOF 2121.

It appears that Resonant is relying on                   to show that the MCU of the Accused

Controllers performs the function of “controlling supply of power from the power supply to the

driving component to cause the moveable component to oscillate at a frequency and an amplitude

specified by [user input received from the user-input features / one or more stored values].”

Regardless, it is undisputed that
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                                                                SOF 4, 10-13. Indeed, Resonant’s

expert, Dr. Baker, identified                                                      evidence of the

“control component” limitation. SOF 22.



                                SOF 14. The PlayStation 5 console is not “contained within the

vibrating module,” and Resonant cannot rely on

                          to show that the claimed function is met. Regardless of the infringement

theory, Resonant cannot escape the fact that



             ). This is contrary to the Court’s claim construction.

        On these undisputed facts, Defendants are entitled to summary judgment of non-

infringement.

VII.    CONCLUSION

        For the foregoing reasons, there is no genuine dispute as to any material fact and

Defendants respectfully request entry of summary judgment of non-infringement as to all Asserted

Claims.



Date:     September 10, 2024                      /s/ Mark C. Lang
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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on September 10, 2024, a true and correct

copy of the foregoing was served via email on all attorneys of record.

                                                            /s/ Mark C. Lang
                                                            Mark C. Lang




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